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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  RUSTY LAPALME,
                                                         Case No. 06-20465-50
           Defendant/Petitioner,
                                                         Honorable Nancy G. Edmunds
  v.

  UNITED STATES OF AMERICA,

           Plaintiff/Respondent.
                                            /



                   ORDER DENYING CERTIFICATE OF APPEALABILITY

       On July 31, 2014, this Court denied Petitioner's motion to vacate, set aside, or correct

  sentence, brought pursuant to 28 U.S.C. § 2255. This matter is now before the Court on

  Petitioner’s motion for a certificate of appealability [2615] pursuant to 28 U.S.C. § 2253.

  The court may issue a certificate of appealability if the petitioner has made a substantial

  showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2).

       [T]he petitioner need not show that he should prevail on the merits. He has
       already failed in that endeavor. Rather, he must demonstrate that the issues are
       debatable among jurists of reason; that a court could resolve the issues [in a
       different manner] or that the questions are "adequate to deserve encouragement
       to proceed further."

  Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983); Hence v. Smith, 49 F. Supp. 2d 547, 549

  (E.D. Mich. 1999).

       For the reasons stated in the Court’s Order denying Petitioner’s motion to vacate, set

  aside, or correct sentence [2611], this Court reiterates its finding that Petitioner has not

  made a substantial showing of the denial of a federal right with respect to any of his claims.
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  Being further advised in the premises and having read the pleadings, the Court hereby

  DENIES Petitioner’s motion for a certificate of appealability.

       SO ORDERED.



                 S/Nancy G. Edmunds
                 Nancy G. Edmunds
                 United States District Judge

  Dated: August 20, 2014

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on August 20, 2014, by electronic and/or ordinary mail.

                 S/Carol J. Bethel
                 Case Manager
